                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                  TYLER DIVISION

CHAMBER OF COMMERCE OF THE
UNITED STATES OF AMERICA;
LONGVIEW CHAMBER OF COMMERCE;
AMERICAN BANKERS ASSOCIATION;
CONSUMER BANKERS ASSOCIATION;
INDEPENDENT BANKERS ASSOCIA-
TION OF TEXAS; TEXAS ASSOCIATION
OF BUSINESS; and TEXAS BANKERS AS-
SOCIATION.
                            Plaintiffs,

v.                                                  Case No. 6:22-cv-00381-JCB

CONSUMER FINANCIAL PROTECTION
BUREAU; and ROHIT CHOPRA, in his offi-
cial capacity as Director of the Consumer Fi-
nancial Protection Bureau,
                                      Defendants.

             PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT
     AND INCORPORATED MEMORANDUM OF POINTS AND AUTHORITIES
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                                           INTRODUCTION
        The CFPB has “vast authority,” Seila Law LLC v. Consumer Fin. Prot. Bureau, 140 S. Ct. 2183,

2210 (2020), but even vast authority must have limits. The Dodd-Frank Act established the CFPB to

“implement and . . . enforce Federal consumer financial law.” 12 U.S.C. §5511(a). In creating the

agency, “Congress transferred the administration of 18 existing federal statutes to the CFPB, including

the Fair Credit Reporting Act, the Fair Debt Collection Practices Act, and the Truth in Lending Act.”

Seila Law, 140 S. Ct. at 2193. Congress also charged the agency with enforcing a prohibition on “any

unfair, deceptive, or abusive act or practice”—often called the UDAAP authority. 12 U.S.C.

§5536(a)(1)(B). To carry out these duties, the CFPB can “require reports and conduct examinations

on a periodic basis” of certain entities—including members of each Plaintiff—to “assess[] compliance

with the requirements of Federal consumer financial law,” and “obtain[] information about [their]

activities and compliance systems or procedures.” Id. §§5514-15. The CFPB can also “conduct inves-

tigations, issue subpoenas and civil investigative demands, initiate administrative adjudications, and

prosecute civil actions in federal court.” Seila Law, 140 S. Ct. at 2193 (citing 12 U.S.C. §§5562, 5564(a),

(f)). Through those processes, the CFPB can exact penalties like restitution, rescission of contracts,

disgorgement, and injunctive relief. 12 U.S.C. §5565.

        The CFPB’s vast authority makes the legal constraints that do exist on its authority all the

more crucial. As relevant here, the CFPB must stay within the limits of Dodd-Frank, including the

limits on its UDAAP authority. Under the Administrative Procedure Act, the agency cannot take ar-

bitrary or capricious actions, 5 U.S.C. §706(2)(A), and must submit legislative rules to the notice-and-

comment process, §553. And the agency must of course follow the Constitution, including the Ap-

propriations Clause. U.S. Const. art I, §9, cl. 7.

        Through its recent examination manual update, the CFPB has, with the stroke of a pen, arro-

gated an open-ended and novel power to police regulated entities for discrimination—including for


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mere disparate impacts. This authority is nowhere to be found in the agency’s mandate from Congress.

Indeed, the CFPB’s new rule flies in the face of the text, history, and structure of Dodd-Frank. And

while its “update” imposes substantial new obligations on regulated entities, the CFPB entirely by-

passed the notice-and-comment process required by the APA. Further, as the Fifth Circuit recently

held, the funding structure that allowed the CFPB to announce or impose any of this authority in the

first place is unconstitutional. Cmty. Fin. Servs. Ass’n of Am., Ltd. v. CFPB, 51 F.4th 616 (5th Cir. 2022).

Judicial relief is thus needed to ensure that the CFPB remains accountable to legal constraints, the rule

of law, and the public as it pursues an aggressive agenda with far-reaching implications for the Amer-

ican economy, Plaintiffs, and their members.

        For these reasons, Plaintiffs seek summary judgment on every claim in their complaint. Spe-

cifically, this Court should set aside the CFPB’s March 2022 update to the manual. It should also

permanently enjoin the CFPB from pursuing any examinations or enforcement actions based on the

interpretation of its UDAAP authority announced in the March 2022 update. Plaintiffs are plainly

entitled to those remedies under the Appropriations Clause, given the Fifth Circuit’s recent decision

in Community Financial. But because the Supreme Court will likely review that case and take substantial

time to decide it, Plaintiffs respectfully ask the Court to alternatively hold that Plaintiffs are entitled to

those remedies under the APA as well.


                                            BACKGROUND
        I. Dodd-Frank authorizes the CFPB to prohibit covered entities from engaging in an “unfair,

deceptive, or abusive act or practice.” 12 U.S.C. §5536(a)(1)(B). The law lets the agency “prescribe

rules” to “identify[]” UDAAPs and to set “requirements for the purpose of preventing such acts of

practices.” Id. §5531(b). The law also authorizes the CFPB to “require reports and conduct examina-




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tions on a periodic basis” of covered entities—including members of each Plaintiff—to “assess[] com-

pliance” and “obtain[] information about the activities and compliance systems or procedures” of the

examined entity. Id. §§5514-15.

        The CFPB’s examination of regulated entities is far-reaching, as outlined in the CFPB’s Su-

pervision and Examination Manual, spanning nearly 2,000 pages. See CFPB, Supervision and Examination

Manual (Sept. 2022), https://perma.cc/JP4D-6AQS. If the CFPB decides to examine for potential

UDAAP violations, it will go “onsite to observe, conduct interviews, and review … documents and

information,” at which point the CFPB decides whether the examination “indicates potential unfair,

deceptive, or abusive acts or practices.” CFPB, Supervision and Examination Manual, Overview Section at

5-6 (revised Oct. 12, 2012) (Exhibit H). It then evaluates “the regulated entity’s compliance manage-

ment and its statutory and regulatory compliance” and decides whether to identify any “corrective

actions that the institution should take.” Id. This extensive review covers not only potential violations

of law, but also whether an entity has adequate policies and procedures in place to prevent violations.

        Examiners “assess the quality of the regulated entity’s compliance risk management systems,

including internal controls and policies and procedures.” CFPB, Supervision and Examination Manual,

Unfair, Deceptive, or Abusive Acts or Practices Section at 11 (revised Mar. 16, 2022) (Exhibit I). They also

“identify acts or practices” that examiners believe “materially increase the risk of consumers being

treated in an unfair, deceptive, or abusive manner.” Id. Examiners have free rein (subject to applicable

privileges) to obtain and review copies of the entity’s internal documents, including “Training materi-

als”; “Procedure manuals and written policies”; “Internal control monitoring and auditing materials”;

and “Minutes of the meetings of the Board of Directors and of management committees, including

those related to compliance.” Id. Examiners’ evaluations also include “reviewing all relevant written

policies and procedures” and “internal and external audit reports.” Id. at 12.




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       The examiners then “determine whether the entity’s internal controls are adequate to prevent”

UDAAPs. Id. at 13. That determination hinges on whether the “compliance management program

includes measures aimed at avoiding unfair, deceptive, or abusive practices”; whether the entity “con-

ducts prior UDAAP reviews on advertising and promotional materials”; whether the entity “reviews

new products and changes in terms and conditions of existing products for potential UDAAP con-

cerns”; whether the entity “has established policies and procedures to review, test, and monitor any

decision-making processes it uses for potential UDAAP concerns”; and whether the entity “has es-

tablished policies and procedures to mitigate potential UDAAP concerns arising from the use of its

decision-making processes.” Id. at 13-14.

       Supervisory findings have direct consequences for the examined entity. When examiners iden-

tify an entity’s violations or inadequate compliance programs, the CFPB can pursue additional super-

vision and enforcement of the entity. The agency can issue a “Matter Requiring Attention,” identifying

goals, expected timeframes for implementation, and reporting requirements. CFPB, Supervision and

Examination Manual, Examinations and Targeted Reviews Section at 17 (revised Feb. 2019) (Exhibit J). The

CFPB also sometimes refers matters to its “Action Review Committee,” which can choose to proceed

through confidential supervisory action or a public enforcement action. CFPB, Supervisory Highlights at

27 (Summer 2015), https://perma.cc/9UKM-XNZ2; see also CFPB, Supervisory Highlights at 37-38

(Sept. 2017), https://perma.cc/WF76-JTNW (“about one-third” of matters referred to the Action

Review Committee result in public enforcement proceedings).

       Enforcement actions based on findings made in the examination process can have substantial

monetary and reputational consequences, such as “civil monetary penalties,” “disgorgement” of prof-

its, “restitution,” and “[p]ublic notification regarding the violation.” Ex. I at 7. These enforcement

matters have garnered nearly $1.7 billion dollars in restitution, underscoring the massive financial ef-

fect that the CFPB’s exercise of UDAAP authority has on the marketplace. Administrative Record



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(“AR”) 06018 (Exhibit N). Even when the agency does not proceed directly to enforcement, it still

considers a Matter Requiring Attention, and responsive action, in “assessing an institution’s Compli-

ance rating, or otherwise considering the risks that an institution poses to consumers and to markets,”

which “may be used by the Bureau when prioritizing future supervisory work or assessing the need

for potential enforcement action.” Ex. J at 17. Examination findings and resulting compliance ratings

can also be used by an institution’s prudential regulator. See, e.g., 12 U.S.C. 5515(e)(1)(C) (authorizing

the CFPB to share examination findings with the supervised entity’s prudential regulator). And the

CFPB treats this entire process as confidential, largely prohibiting regulated entities from disclosing

information “without the prior written permission of the Director” of the CFPB. 12 C.F.R.

§1070.47(a)(2).

        In short, the CFPB’s authority to examine for UDAAPs—even when correctly interpreting

and applying Dodd-Frank—is expansive. Compliance is onerous, while regulated entities face both a

high degree of uncertainty and severe consequences if the agency determines—rightly or wrongly—

that there are inadequacies. And the whole process of examination and enforcement is shielded from

public scrutiny.

        II. Earlier this year, the CFPB reinterpreted its UDAAP authority to be still more sweeping.

On March 16, the CFPB updated several portions of its examination manual to claim authority to

examine entities for alleged discriminatory conduct under its UDAAP authority. Ex. I, at 11, 13, 14,

17; CFPB, see also CFPB Targets Unfair Discrimination in Consumer Finance (Mar. 16, 2022) (Exhibit K).

        This novel position adds a new and burdensome layer to regulated entities’ UDAAP compli-

ance programs. The manual now dictates that a regulated “entity’s compliance program includes an

established process for periodic analysis and monitoring of all decision-making processes used in con-

nection with consumer financial products or services, and a process to take corrective action to address

any potential UDAAP concerns related to their use, including discrimination.” Ex. I at 13 (emphasis



                                                    5
added). It further requires that a regulated “entity has established policies and procedures to review,

test, and monitor any decision-making processes it uses for potential UDAAP concerns, including dis-

crimination.” Id. at 14 (emphasis added). Entities must now have “established policies and procedures

to mitigate potential UDAAP concerns arising from the use of its decision-making processes, including

discrimination.” Id. (emphasis added). They must also “ensur[e] that employees and third parties who

market or promote products or services are adequately trained so that they do not engage in unfair,

deceptive, or abusive acts or practices, including discrimination.” Id. at 17 (emphasis added). They must

further take care “that employees and third party contractors refrain from engaging in servicing or

collection practices that lead to differential treatment or disproportionately adverse impacts on a discrimi-

natory basis.” Id. at 18 (emphasis added).

        Examiners now have an entire new field to scrutinize in the evaluation of regulated entities.

The updated manual instructs examiners to consider whether an “entity has a process to take prompt

corrective action if the decision-making processes it uses produce deficiencies or discriminatory re-

sults.” Id. The updated manual claims that its examination objectives include identifying “acts or prac-

tices that materially increase the risk of consumers being treated in an unfair, deceptive, or abusive

manner, including discriminatory acts or practices.” Id. at 11 (emphasis added). Examiners are instructed

to obtain documentation from regulated entities “regarding the use of models, algorithms, and deci-

sion-making processes used in connection with consumer financial products and services”; “[i]nfor-

mation collected, retained or used regarding customer demographics, including the demographics of

customers using various products or services”; and “any demographic research or analysis relating to

marketing or advertising of consumer financial products or services.” Id. at 12.

        This claim of anti-discrimination authority is both entirely novel and legally incorrect. Before

this year, the CFPB had never interpreted its UDAAP authority to include the power to regulate

discriminatory conduct. Since its first iteration in October 2012, the manual made no mention of



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discrimination in the UDAAP section. See CFPB, Unfair, Deceptive, or Abusive Acts or Practices Examina-

tion Manual (revised Oct. 2012) (Exhibit L). To the contrary, the CFPB’s statutory authorities consist-

ently treat “unfairness” and “discrimination” as distinct concepts, e.g., 12 U.S.C. §5511(b); §5481(13);

§5493(c)(2)(A); §5531(c), and so did the CFPB’s manual, CFPB, Supervision and Examination Manual at

1783, 1785, 1792, 1794, 1795, 1796, 1799 (Sept. 2022), https://perma.cc/JP4D-6AQS; AR 01434,

01463, 01465, 01466, 01467, 02278, 02280, 02287, 02289, 02290, 02291, 02294 (same references for

provisions included in the 2012 manual) (Exhibit U). Yet the CFPB did not hide the novelty or import

of its decision; instead it proclaimed, “We will be expanding our anti-discrimination efforts to combat

discriminatory practices across the board in consumer finance.” Ex. K (emphases added). To make mat-

ters worse, when the agency introduced this new rule, it bypassed the APA’s mandatory notice-and-

comment procedures. 5 U.S.C. §553.

        III. The CFPB’s “update” has already inflicted significant harm on financial-services compa-

nies—including Plaintiffs’ members—through increased, unrecoverable compliance costs and nega-

tive effects on business operations. See Ex. A-G (declarations from each Plaintiff organization). The

update puts a Hobson’s choice to supervised entities. Supervised entities must choose between un-

dertaking the substantial burden and expense of incorporating this unlawful standard into their oper-

ations and compliance management systems, or dare the CFPB to make supervisory findings and

ultimately bring an enforcement action based on failure to guard against these alleged violations. For

highly regulated entities such as Plaintiffs’ members, this no choice at all. They must comply.

        The CFPB’s addition of discrimination-related compliance issues adds to the already burden-

some UDAAP compliance regime. Conforming to the CFPB’s new regime will come at significant

cost to regulated entities, including Plaintiffs’ members, as they are forced to update their own

UDAAP compliance policies and programs. Regulated entities will also perpetually incur costs to re-

main in compliance. These costs will ultimately hurt consumers as well, in the form of higher prices



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and reduced access to products. These costs are magnified because, to date, the CFPB has provided

no instructions about what might constitute unfair discrimination or actionable disparate impacts. It

has not identified protected classes or characteristics, delineated what legal test it will use to determine

whether discrimination actually took place—which, for example, could raise “serious constitutional

questions” if “based solely on a showing of statistical disparity,” Tex. Dep’t of Hous. & Cmty. Affs. v.

Inclusive Communities Project, Inc., 576 U.S. 519, 540 (2015)—identified safe-harbor activities that are not

discriminatory, or explained to regulated entities how they are supposed to conduct assessments of

their activities for compliance purposes.

        IV. Even if the CFPB’s UDAAP authority extended to discrimination, the CFPB could not

exercise that authority or issue the manual update because its funds are not constitutionally appropri-

ated. Contrary to the ordinary process for annual appropriations from Congress, the CFPB has an

unprecedented level of budgetary independence. Instead of requesting funds from Congress, as most

agencies must do, the CFPB Director “simply requests [from the Federal Reserve] an amount ‘deter-

mined by the Director to be reasonably necessary to carry out the’ agency’s functions,” subject to

Federal Reserve budget caps but not congressional oversight. Cmty. Fin. Servs. Ass’n of Am., Ltd. v.

CFPB, 51 F.4th 616, 624 (5th Cir. 2022) (quoting 12 U.S.C. §5497(a)(1)). This arrangement gives the

CFPB a “perpetual funding mechanism” outside even the “indirect control” of Congress. Id. at 638. No

other agency, including other financial regulators, enjoys this kind of fiscal independence from Con-

gress. See id. at 642. As the Fifth Circuit has now held, such budgetary independence, for an agency

with executive authority as vast as the CFPB, defies the Appropriations Clause and the separation of

powers.


                                             ARGUMENT
        Because the Constitution, Dodd-Frank, and the APA all forbid the CFPB’s claimed UDAAP

authority over discrimination, Plaintiffs are entitled to summary judgment on every claim. To remedy


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 these violations, this Court should vacate the manual update, declare that the CFPB has no lawful

 power to regulate discrimination under UDAAP, and permanently enjoin the CFPB from doing so.


I.       Plaintiffs are entitled to summary judgment.
         “Summary judgment is appropriate when ‘the movant shows that there is no genuine dispute

 as to any material fact and the movant is entitled to judgment as a matter of law.’” Id. at 626 (quoting

 Fed. R. Civ. P. 56(a)). A federal court must overturn an agency action “if it is arbitrary, capricious, an

 abuse of discretion, not in accordance with law, or unsupported by substantial evidence on the rec-

 ord.” United States v. Nature’s Way Marine, LLC, 904 F.3d 416, 419 (5th Cir. 2018). Federal courts also

 can award “equitable relief” against a federal officer when “(1) the officer’s powers are limited by

 statute and he acts in excess of that authority or (2) the officer acts in an unconstitutional manner or

 pursuant to an unconstitutional grant of authority.” Ala. Rural Fire Ins. Co. v. Naylor, 530 F.2d 1221,

 1226 (5th Cir. 1976). Constitutional and administrative-law claims like Plaintiffs’ are “purely legal” and

 thus particularly appropriate for adjudication at the summary-judgment stage. E.g., Am. Forest & Paper

 Ass’n v. EPA, 137 F.3d 291, 297 (5th Cir. 1998); Cmty. Fin., 51 F.4th at 626, 644.

         Plaintiffs are entitled to summary judgment on every claim. The CFPB could not issue the

 manual update or regulate discrimination under its UDAAP authority because its funding structure

 violates the Appropriations Clause, as the Fifth Circuit recently held in Community Financial. Though

 Community Financial binds this Court and entitles Plaintiffs to full relief, it will likely be reviewed by the

 Supreme Court. See Cmty. Fin. Servs. Ass’n of Am., Ltd. v. CFPB, No. 22-448 (Nov. 14, 2022) (certiorari

 petition filed by the U.S. Solicitor General). Moreover, even if it could be cured by congressional

 action that would still not resolve the other problems that Plaintiffs have identified with the manual

 update. To preserve resources and avoid harm to Plaintiffs’ members, Plaintiffs respectfully ask this

 Court to enter judgment on both their constitutional claim and their APA claims. See, e.g., Carr v.

 Hibernia Nat. Bank, 251 F. App’x 855, 857 (5th Cir. 2007) (affirming, as courts often do, the district


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court’s “alternative ruling”). An alternative holding under the APA would mean that, whatever the

Supreme Court decides in Community Financial, Plaintiffs’ members will be protected from irreparable

harm and this case will be ready for appellate review. And as explained below, Plaintiffs’ APA claims

are correct and entitle them to full relief.


        A.      The CFPB is unconstitutionally funded.
        The legislature’s power of the purse is a bedrock feature of our constitutional separation of

powers. “The Constitution carefully separates the ‘purse’ from the ‘sword’ by assigning to Congress

and Congress alone the power of the purse.” Tex. Educ. Agency v. U.S. Dep’t of Educ., 992 F.3d 350, 362

(5th Cir. 2021) (citing The Federalist Nos. 78 (Alexander Hamilton), 58 (James Madison)). For this

reason, Article I’s Appropriations Clause gives a “‘straightforward and explicit command’ ensur[ing]

Congress’s exclusive power over the federal purse.” Cmty. Fin., 51 F.4th at 637 (quoting OPM v. Rich-

mond, 496 U.S. 414, 424 (1990)). Specifically, “No Money shall be drawn from the Treasury, but in

Consequence of Appropriations made by Law[.]” U.S. Const., art. I, §9, cl.7. This commitment of

legislative power “‘maintain[s] the boundaries between the branches and preserve[s] individual liberty

from the encroachments of executive power.’” Id. (quoting CFPB v. All Am. Check Cashing, 33 F.4th

218, 231 (2022) (Jones, J., concurring)).

        The CFPB’s unique budgetary independence, as the Fifth Circuit held in Community Financial,

violates the Appropriations Clause. Id. at 635-38. “[T]he [Bureau] receives funding directly from the

Federal Reserve, which is itself funded outside the appropriations process through bank assessments.”

Id. at 624 (quoting Seila Law, 140 S. Ct. at 2194). This “self-actualizing, perpetual funding mechanism”

insulates the agency from Congress’s power of the purse. Id. at 638. Indeed, because the CFPB is

entitled to funding (as much as it has ever needed) directly from the Federal Reserve, which is itself

outside the normal appropriations process, it can exploit “a double insulation from Congress’s purse

strings that is ‘unprecedented’ across the government.” Id. at 639 (quoting All Am. Check Cashing, 33


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F.4th at 225 (Jones, J., concurring)). Nor can Congress “review agency funding on the back end,”

because CFPB funds from the Federal Reserve “‘shall not be construed to be Government funds or

appropriated monies’” and “‘shall not be subject to review by the Committees on Appropriations of

the House of Representatives and the Senate.’” Id. (citing 12 U.S.C. §5497(a)(2)(C), (c)(2)). The Fifth

Circuit further explained that “[t]he constitutional problem is more acute because of the Bureau’s

capacious portfolio of authority” as “‘a mini legislature, prosecutor, and court, responsible for creating

substantive rules for a wide swath of industries, prosecuting violations, and levying knee-buckling

penalties against private citizens.’” Id. at 640 (quoting Seila Law, 140 S. Ct. at 2202 n.8).

        The Fifth Circuit’s decision compels this Court to reach the same conclusion. The Fifth Circuit

held that plaintiffs who challenge an action by the CFPB are entitled to relief if they can “show that

the unconstitutional funding provision inflicted harm.” Id. at 643 (cleaned up). The court then deter-

mined that issue to be “straightforward” where “the funding employed by the Bureau to promulgate

the [challenged action] was wholly drawn through the agency’s unconstitutional funding scheme.” Id.

That’s true here. “[W]ithout its unconstitutional funding, the Bureau lacked any other means to prom-

ulgate the [manual update]” or exercise any authority over discrimination. Id. Plaintiffs’ members

“were thus harmed by the Bureau’s improper use of unappropriated funds” and “are therefore entitled

to ‘a rewinding of [the Bureau’s] action.’” Id. Plaintiffs have submitted several declarations detailing

the specific and significant harms that the CFPB’s unlawful rule imposes on their members. Ex. A-G.

Under Community Financial, Plaintiffs are thus entitled to summary judgment on constitutional grounds.


        B.      The manual update violates the APA.
        The CFPB’s manual update also exceeds its statutory authority and violates the Administrative

Procedure Act in three main ways. First, the CFPB exceeded its statutory authority outlined in Dodd-

Frank by adopting the novel position that the CFPB can examine entities for alleged discriminatory

conduct under its UDAAP authority. Ex. I, at 11, 13, 14, 17; see also Compl. ¶¶80-85 (Count I). Second,


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the update is “arbitrary” and “capricious” due to the CFPB’s failure to recognize Congress’s narrow

conception of unfairness authority. 5 U.S.C. §706(2)(A); see also Compl. ¶¶86-90 (Count II). Third, the

update violates the APA’s procedural requirements because it constitutes a legislative rule that the

CFPB created without notice and comment. 5 U.S.C. §553; see also Compl. ¶¶91-94 (Count III). Each

of these legal shortfalls provides an independent justification for granting summary judgment to Plain-

tiffs.


                  1.      The update exceeds the CFPB’s statutory authority.
           The APA broadly waives the sovereign immunity of the United States and its federal agencies.

It lets parties who are adversely affected or aggrieved by agency action seek judicial review. 5 U.S.C.

§§702, 704. Under the APA, agency action must be vacated if it is “not in accordance with law” or “in

excess of statutory jurisdiction, authority, or limitations.” Id. §706(2)(A) & (C). The APA further dic-

tates that a court “shall hold unlawful and set aside agency action, findings, and conclusions found to

be arbitrary, capricious, an abuse of discretion.” Id. §706(2)(A). To meet this standard, “[f]ederal ad-

ministrative agencies are required to engage in ‘reasoned decisionmaking.’ This necessarily means that

‘[n]ot only must an agency’s decreed result be within the scope of its lawful authority, but the process

by which it reaches that result must be logical and rational.’” Texas v. United States, 524 F. Supp. 3d

598, 652 (S.D. Tex. 2021) (quoting Allentown Mack Sales & Serv., Inc. v. NLRB, 522 U.S. 359, 374

(1998)).

           Dodd-Frank gave the CFPB authority to prohibit “unfair” acts or practices by covered entities.

See 12 U.S.C. §5536(a)(1)(B) (giving the CFPB the authority to enforce a statute that makes it unlawful

for a covered entity “to engage in any unfair, deceptive, or abusive act or practice”). But in enacting

Dodd-Frank, Congress did not provide the CFPB with authority to root out discrimination as a general

matter. Rather, it provided the CFPB with authority over two discrete anti-discrimination laws and no

more—even though any number of anti-discrimination laws, such as the Fair Housing Act, existed at


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the time and any variety of new anti-discrimination provisions could have been included in Dodd-

Frank itself.

        Specifically, Dodd-Frank authorized the CFPB to “prescribe rules applicable to a covered per-

son or service provider identifying as unlawful, unfair, deceptive, or abusive acts or practices in con-

nection with any transaction with a consumer for a consumer financial product or service, or the

offering of a consumer financial product or service,” including “requirements for the purpose of pre-

venting such acts or practices.” Id. §5531(b). In some cases, the CFPB has done so. See, e.g., 12 C.F.R.

§1041.7 & Supp. I.

        But here, the CFPB has elected to declare its exercise of UDAAP authority through its nearly

2,000-page Supervision and Examination Manual. See CFPB, Supervision and Examination Manual (Sept.

2022), https://perma.cc/JP4D-6AQS. The manual explains that Dodd-Frank “authorizes it to super-

vise certain financial companies and large depository institutions and their affiliates for consumer pro-

tection purposes.” Ex. H, at 1. As a result, the CFPB “has the responsibility to implement, examine

for compliance with, and enforce ‘Federal consumer financial law.’” Id. This law includes the require-

ment that CFPB monitor compliance with Dodd-Frank’s prohibitions on “unfair, deceptive, or abu-

sive acts and practices in connection with consumer products and services.” Id.

        Before this year, the CFPB had never interpreted its UDAAP authority to include the power

to regulate discriminatory conduct. Since its first iteration in October 2012, the manual made no men-

tion of discrimination in the UDAAP section. See Ex. L. To the contrary, the manual repeatedly treated

UDAAP and discrimination separately. CFPB, Supervision and Examination Manual at 8, 13, 45, 48, 50,

52, 64, 68, 70, 1783, 1785, 1792, 1794, 1795, 1796, 1799 (Sept. 2022), https://perma.cc/JP4D-6AQS;

AR 01434, 01463, 01465, 01466, 01467, 02278, 02280, 02287, 02289, 02290, 02291, 02294 (same ref-

erences for provisions included in the 2012 manual). But on March 16, the CFPB updated several




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portions of its examination manual to claim authority to regulate discrimination under its UDAAP

authority. See Ex. K.

        In taking this unprecedented step, the CFPB has stretched its UDAAP authority beyond the

bounds carefully set by Congress. In describing the update, the CFPB asserted that “[d]iscrimination

… can trigger liability under [the] ban on unfair acts or practices.” Ex. K. That mistaken assertion

ignores the text, structure, and history of Dodd-Frank, as well as similar legislation addressing agen-

cies’ authority to regulate unfairness.

        To start, “the best evidence of Congress’s intent is the statutory text.” NFIB v. Sebelius, 567

U.S. 519, 544 (2012). And of course, “[t]he responsibility of determining the limits of statutory grants

of authority … is a judicial function entrusted to the courts by Congress by the statutes establishing

courts and marking their jurisdiction.” Mtn. States Legal Found. v. Bush, 306 F.3d 1132, 1136 (D.C. Cir.

2002) (quoting Stark v. Wickard, 321 U.S. 288, 310 (1944)). Here, the exercise of that function should

be straightforward. Dodd-Frank discusses “unfairness” and “discrimination” as two distinct concepts,

and it defines “unfairness” without making any reference to “discrimination.” Indeed, at the time

Congress passed Dodd-Frank, no relevant legal authority had conflated those two concepts, and

Dodd-Frank defines “unfairness” without making any reference to “discrimination.”

        Specifically, Dodd-Frank sets forth Congress’s objectives for the CFPB and makes clear that

Congress “authorized [the CFPB] to exercise its authorities under Federal consumer financial law for

the purposes of ensuring that, with respect to consumer financial products and services . . . consumers

are protected from unfair, deceptive or abusive acts and practices and from discrimination.” 12 U.S.C.

§5511(b) (emphasis added). Congress’s word choice is significant. Congress did not authorize the

CFPB to protect consumers from unfair acts or practices “including” or “such as” discrimination, as

it would if Congress had meant for discrimination to be viewed as a type of unfairness. See id. Instead,




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Congress chose to authorize the CFPB to protect consumers from unfair acts or practices “and” from

discrimination, separately.

        Nor did it give the CFPB authority to define and prohibit “unfair, deceptive, discriminatory, or

abusive acts or practices”; again, it gave the CFPB authority to define and prohibit “unfair, deceptive,

or abusive acts or practices.” See Univ. of Tex. Sw. Med. Ctr. v. Nassar, 570 U.S. 338, 353 (2013) (“Given

this clear language, it would be improper to conclude that what Congress omitted from the statute is

nevertheless within its scope.”). Congress’s omission was no accident, as other agencies have recog-

nized. See, e.g., AR 02490-91 (FDIC statement recognizing the distinct nature of unfairness and dis-

crimination) (Exhibit O); AR 02657 (OCC publication considering UDAAP issue separately from

discrimination) (Exhibit P).

        Other examples of Congress’s design are easy to find. In section 1002(13) of Dodd-Frank,

Congress defined “fair lending” as “fair, equitable, and nondiscriminatory access to credit for con-

sumers.” 12 U.S.C. §5481(13). This definition shows that when Congress wants the concept of fairness

to include nondiscrimination in a specific context, it knows how to do so. If “fair” naturally included

“nondiscriminatory,” Congress would not have needed to include nondiscriminatory in its definition

of fair lending. See Gustafson v. Alloyd Co., 513 U.S. 561, 574 (1995) (“[T]he Court will avoid a reading

which renders some words altogether redundant.”). This distinction is again apparent in Dodd-Frank’s

creation of the CFPB’s Office of Fair Lending and Equal Opportunity. 12 U.S.C. §5493. There, Con-

gress authorized the Director of the CFPB to delegate to the Office the authority to oversee and

enforce federal laws designed to ensure the “fair, equitable, and nondiscriminatory access to credit”

(i.e., federal “fair lending” laws), of which the Equal Credit Opportunity Act and Home Mortgage

Disclosure Act—but not the CFPB’s unfairness authority—are listed as examples. 12 U.S.C.

§5493(c)(2)(A). Again, if “fair” naturally meant “nondiscriminatory,” the additional language would be

“altogether redundant.” Gustafson, 513 U.S. at 574.



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       The CFPB’s novel position is likewise unsupported by the structure of Dodd-Frank. “Just as

Congress’ choice of words is presumed to be deliberate, so too are its structural choices.” Nassar, 570

U.S. at 353. For example, the section that defines “unfairness” does not mention discrimination. 12

U.S.C. §5531(c). If discrimination was already considered “unfair,” then the inclusion of the two non-

discrimination laws would be surplusage. Contra United States v. Jicarilla Apache Nation, 564 U.S. 162,

185 (2011) (“As our cases have noted in the past, we are hesitant to adopt an interpretation of a

congressional enactment which renders superfluous another portion of that same law.").

       Legislative history also disfavors the CFPB’s expansive approach to its unfairness authority.

Nothing in the history of the passage of Dodd-Frank indicates that Congress intended for the CFPB

to use its unfairness authority to address discrimination. Instead, the legislative history supports the

contrary conclusion: that the CFPB’s authority to address discrimination flows only from existing

antidiscrimination laws. The only mention of how the CFPB should address discrimination in Dodd-

Frank’s conference report focuses on preexisting antidiscrimination laws. See H.R. Rep. No. 111-517,

at 875 (June 29, 2010) (Dodd-Frank Conference Report) (“[T]he Office of Fair Lending and Equal

Opportunity within the [CFPB] … will oversee the enforcement of federal laws intended to ensure

fair, equitable and nondiscriminatory access to credit for individuals and communities, including the

Equal Credit Opportunity Act (ECOA) and Home Mortgage Disclosure Act (HMDA).”). And though

the conference report twice mentions the CFPB’s UDAAP authority, it does so in separate paragraphs

without any mention of discrimination. See Dodd-Frank Conference Report at 874-75.

       The CFPB’s interpretation is also inconsistent with the broader statutory context. The unfair-

ness authority is patterned off the FTC’s similar unfairness authority, and the FTC’s has long been

understood to exclude discrimination. See infra 18-19. Moreover, in the many statutes that Congress

has passed to address discrimination, it always defines what classes are protected and specifies exemp-




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tions, none of which appears in the CFPB’s general grant of authority to address unfair acts or prac-

tices. See, e.g., 29 C.F.R. §37.1 (implementing the “nondiscrimination … provisions of the Workforce

Investment Act of 1998” which include “age, disability, [and] political affiliation or belief,” among

other unique criteria); see also AR 02437 (2021 CFPB statement recognizing that its UDAAP authority

is “[i]n addition” to, and therefore distinct from, authority granted under antidiscrimination statutes)

(Exhibit Q). Even supporters of the CFPB’s new rule acknowledge this shortcoming, but the CFPB

has nevertheless persisted on this faulty course. See AR 05561 (“The unfairness-discrimination theory

would require identifying protected classes because they are not enumerated in the FTC or Dodd-

Frank Acts.”) (Exhibit R).

        In sum, the text, structure, and history of the Dodd-Frank Act demonstrate that the updated

manual exceeds the CFPB’s statutory authority. And given the substantial “economic and political

significance” the CFPB’s rule would have, courts have “reason to hesitate before concluding that

Congress meant to confer such authority.” West Virginia v. EPA, 142 S. Ct. 2587, 2608 (2022) (cleaned

up). This Court should reject it as “not in accordance with law” and “in excess of statutory jurisdiction,

authority, or limitations.” 5 U.S.C. §706(2)(A) & (C).


                2.      The update is arbitrary and capricious.
        The APA commands courts to “hold unlawful and set aside agency action, findings, and con-

clusions found to be arbitrary, capricious, an abuse of discretion.” 5 U.S.C. §706(2)(A). To meet this

standard, “[f]ederal administrative agencies are required to engage in ‘reasoned decisionmaking.’”

Texas v. United States, 524 F. Supp. 3d at 652. This rule “means that ‘[n]ot only must an agency’s decreed

result be within the scope of its lawful authority, but the process by which it reaches that result must

be logical and rational.’” Id.; see also FCC v. Prometheus Radio Project, 141 S. Ct. 1150, 1158 (2021) (“The

APA’s arbitrary-and-capricious standard requires that agency action be reasonable and reasonably ex-

plained.”). In other words, reviewing courts must ensure that “the agency has acted within a zone of


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reasonableness and, in particular, has reasonably considered the relevant issues and reasonably ex-

plained the decision.” Prometheus Radio Project, 141 S. Ct. at 1158.

        Courts “must set aside any action premised on reasoning that fails to account for relevant

factors or evinces a clear error of judgment.” Texas v. Biden, 20 F.4th 928, 989 (5th Cir. 2021). After

all, “a central purpose” of the APA’s requirements “is to subject agency decisionmaking to public

input and to obligate the agency to consider and respond to the material comments and concerns that

are voiced.” Make the Road New York v. Wolf, 962 F.3d 612, 634 (D.C. Cir. 2020). And the “significant

mismatch” between the decision and the administrative rationale indicates a lack of reasoned deci-

sionmaking and pretext. See Dep’t of Commerce v. New York, 139 S. Ct. 2551, 2575 (2019) (“We are

presented, in other words, with an explanation for agency action that is incongruent with what the

record reveals about the agency’s priorities and decisionmaking process.”).

        The CFPB’s expansive view of “unfairness” is arbitrary and capricious because it contradicts

the historical use and understanding of that term. See Texas v. United States, 524 F. Supp. 3d at 652

(requiring “reasoned decisionmaking”). In 1938, Congress authorized the Federal Trade Commission

(FTC) to protect consumers from “unfair or deceptive acts or practices in or affecting commerce.”

Pub. L. No. 75-447, 52 Stat. 111 (1938) (codified as amended at 15 U.S.C. §45(a)(1)). After initially

leaving the term “unfair” undefined, Congress later curtailed the Commission’s use of its unfairness

authority. See Pub. L. No. 96-252, 94 Stat. 374 (1980) (codified as amended in scattered sections of 15

U.S.C.). It codified a constrained definition of unfairness—that does not include discrimination—to

limit the Commission’s ability to use unfairness to pursue unlimited public-policy goals. 15 U.S.C.

§45(n). This context is important because Congress borrowed the unfairness definition that governs

the CFPB from the Federal Trade Commission Act. See Ex. I at 1 n.2, 2 n.4. As Director Chopra

conceded in recent testimony, “‘[U]nfairness’ … derive[s] from the FTC Act. It is identical language.”

The Consumer Financial Protection Bureau’s Semi-Annual Report to Congress, Hearing before the Senate Comm. on



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Banking, Hous., and Urb. Affairs, 117th Cong. (2022) (statement of Rohit Chopra, Director of the

CFPB). Where Congress borrows terms of art from other acts, it presumably conveys the same mean-

ing. Morissette v. United States, 342 U.S. 246, 263 (1952).

        What’s more, the CFPB’s contemplation of disparate-impact liability—a specific form of liability

that not even most antidiscrimination laws create—flouts congressional intent and Supreme Court

precedent. See Ex. I at 15 (addressing determinations “that result in discrimination”). CFPB has con-

firmed several times that its updated manual covers disparate-impact liability. For example, the CFPB

stated that “[c]onsumers can be harmed by discrimination regardless of whether it is intentional,” so

CFPB examiners now consider “discriminatory outcomes.” Ex. K. And the CFPB stated elsewhere

that actions producing “disparate treatment or a discriminatory outcome … fall squarely within our

mandate to address and eliminate unfair practices.” Halperin & Salas, Cracking Down on Discrimination

in the Financial Sector, CFPB (Mar. 16, 2022) (Exhibit M). Yet neither Director Chopra (Ex. K) nor his

colleagues (Ex. M) root this expansion of the agency’s authority in anything besides existing UDAAP

authority. Nor has Director Chopra or anyone else at the CFPB attempted to “reasonably explain[]”

this novel interpretation. See Prometheus Radio Project, 141 S. Ct. at 1158.

        This position cannot be squared with the Supreme Court’s admonition that statutes can au-

thorize disparate-impact liability only in narrow circumstances. Inclusive Cmtys., 576 U.S at 534. Namely,

the Supreme Court has required two conditions to imply disparate-impact liability is permissible: the

statute must be an antidiscrimination law, and the statute must contain results-oriented language

demonstrating that it is designed to impose liability for disparate-impact claims. Id.; see also Marietta

Mem’l Hosp. Emp. Health Benefit Plan v. DaVita Inc., 142 S. Ct. 1968, 1974 (2022).

        Dodd-Frank has neither characteristic: It is not an antidiscrimination statute, and neither it

nor any of the other relevant statutes have any results-oriented language showing that Congress in-




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tended for the CFPB to address disparate-impact claims. Accordingly, Dodd-Frank provides no tex-

tual support for the notion that Congress authorized the CFPB to pursue disparate-impact claims

under its UDAAP authority.

        The CFPB’s purported regulation of disparate impacts also fails to include the essential safe-

guards that the Supreme Court requires for disparate-impact liability. See Inclusive Cmtys., 576 U.S. at

542 (insisting on a “robust causality requirement”). Those safeguards are needed to prevent constitu-

tional violations; without them, federal law would impermissibly “inject racial considerations” into

every decision and invite “racial quotas.” Id. at 543. The Court’s precedent teaches that “disparate-

impact liability must be limited so employers and other regulated entities are able to make the practical

business choices and profit-related decisions that sustain a vibrant and dynamic free-enterprise sys-

tem.” Id. at 533. Yet the CFPB has failed to even acknowledge, let alone discuss, these well-established

guardrails.

        Even if UDAAP authority could be interpreted to include discrimination claims, due process

would bar the CFPB from attempting to hold companies responsible under this new UDAAP defini-

tion for conduct before the CFPB announced its new definition. PHH Corp. v. CFPB, 839 F.3d 1, 44

(D.C. Cir. 2016) reh'g en banc granted, order vacated (Feb. 16, 2017), on reh’g en banc, 881 F.3d 75 (D.C. Cir.

2018) (“But change becomes a problem—a fatal one—when the Government decides to turn around

and retroactively apply that new interpretation to proscribe conduct that occurred before the new

interpretation was issued.”). The agency considered none of these problems.

        Relatedly, the CFPB’s manual update ignores the reliance interests that have grown up around

its prior approach to UDAAP authority. See Encino Motorcars, LLC v. Navarro, 579 U.S. 211, 222 (2016)

(“In explaining its changed position, an agency must also be cognizant that longstanding policies may

have ‘engendered serious reliance interests that must be taken into account.’”). Cf. California v. Bern-

hardt, 472 F. Supp. 3d 573, 600-01 (N.D. Cal. 2020) (“[A]n agency cannot flip-flop regulations on [a]



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whim[.]” Rather, “[t]he APA requires reasoning, deliberation, and process. These requirements exist,

in part, because markets and industries rely on stable regulations.”).

        This unreasoned change flouts the APA’s arbitrary-and-capricious standard. It fails to consider

the CFPB’s prior position on UDAAP authority, provides no well-founded reasons for the update,

and does not consider reliance interests. See Dep’t of Homeland Sec. v. Regents of the Univ. of California, 140

S. Ct. 1891, 1913 (2020) (“State Farm teaches that when an agency rescinds a prior policy its reasoned

analysis must consider the “alternative[s]” that are “within the ambit of the existing [policy].”); FCC v.

Fox Television Stations, Inc., 556 U.S. 502, 515 (2009) (“[T]he requirement that an agency provide rea-

soned explanation for its action would ordinarily demand that it display awareness that it is changing

position.”). The manual update is thus arbitrary and capricious. 5 U.S.C. §706(2)(A).


                 3.      The update violates the notice-and-comment requirement.
        The APA also requires that an agency action be set aside if it is promulgated “without ob-

servance of procedure required by law.” 5 U.S.C. §706(2)(D). A “rule” is “an agency statement of

general or particular applicability and future effect designed to implement, interpret, or prescribe law

or policy,” including “the approval or prescription . . . of valuations, costs, or accounting, or practices

bearing on any of the foregoing.” 5 U.S.C. §551(4). This definition includes “virtually every statement

an agency can make.” Avoyelles Sportsmen’s League, Inc. v. Marsh, 715 F.2d 897, 908 (5th Cir. 1983).

        Unless covered by an exception, all agency rules must go through the APA’s notice-and-com-

ment process. Perez v. Mortg. Bankers Ass’n, 575 U.S. 92, 96 (2015). This process “was enacted to give

the public an opportunity to participate in the rule-making process. It also enables the agency prom-

ulgating the rule to educate itself before establishing rules and procedures which have a substantial

impact on those who are regulated.” U.S. Dep’t of Labor v. Kast Metals Corp., 744 F.2d 1145, 1153 n.17

(5th Cir. 1984). Notice-and-comment procedures thus provide a crucial and necessary safeguard

against the consequences of an unchecked administrative state. See Free Enterprise Fund v. PCAOB, 561


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U.S. 477, 499 (2010) (“The growth of the Executive Branch, which now wields vast power and touches

almost every aspect of daily life, heightens the concern that it may slip from the Executive’s control,

and thus from that of the people.”).

        The APA further distinguishes between “legislative rules” and “interpretive rules.” The former

are subject to the Act’s notice-and-comment requirements. 5 U.S.C. §553(b)(3)(A). In determining

whether a rule is legislative or interpretive, the agency’s label is not dispositive. Rather, any rules that

operate as “substantive agency regulations” are deemed legislative. Chrysler Corp. v. Brown, 441 U.S.

281, 295, 313-15 (1979). “Legislative or substantive rules are those which ‘affect individual rights and

obligations.’” Shell Offshore Inc. v. Babbitt, 238 F.3d 622, 628 (5th Cir. 2001). They effectively “create

law” by “impos[ing] conditions … beyond those required by the regulation” that existed before the

new agency action. Davidson v. Glickman, 169 F.3d 996, 999 (5th Cir. 1999) (invalidating the application

of a Farm Services Agency handbook provision because it was a legislative rule that altered the rights

of parties without notice and comment). To determine whether an agency action is a legislative rule,

courts first look to whether the agency “intended the regulation to carry the force of law.” Encino

Motorcars, 579 U.S. at 220. To uncover this intent, courts examine the “language actually used by the

agency.” Cmty. Nutrition Inst. v. Young, 818 F.2d 943, 946 (D.C. Cir. 1987). If an agency action “limits

administrative discretion,” it constitutes a legislative rule. McLouth Steel Prod. Corp. v. Thomas, 838 F.2d

1317, 1320 (D.C. Cir. 1988) (holding that a rule was legislative because it “substantially curtails EPA’s

discretion” and “accordingly has present binding effect” (id. at 1322)). Courts in this Circuit also must

consider whether the rule will “produce … significant effects on private interests.” Gulf Restoration

Network v. McCarthy, 783 F.3d 227, 236 (5th Cir. 2015).

        The CFPB’s updated manual is a legislative rule subject to the APA’s notice-and-comment

requirement because it “change[s] the legal status of regulated parties” by subjecting them to supervi-

sion and examination for discrimination under UDAAP. Mann Constr., Inc. v. United States, 27 F.4th



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1138, 1143 (6th Cir. 2022); see also Texas v. United States, 809 F.3d 134, 171 (5th Cir. 2015) (exceptions

to notice and comment “must be narrowly construed”). Indeed, the update sets out a substantive rule

that the CFPB will carry out when regulating. See Prof’ls. & Patients for Customized Care v. Shalala, 56

F.3d 592, 595 (5th Cir. 1995) (the focus is “primarily on whether the rule has binding effect on agency

discretion or severely restricts it”). It binds the agency’s personnel to a particular method of investi-

gation when conducting UDAAP reviews, thus marking the withdrawal of discretion by purporting

to impose a new legal norm. See id.

        Tellingly, the CFPB takes the position that the update “impose[s] new … duties” on businesses

by empowering examiners to investigate—and thus requiring businesses to keep—certain records and

policies. Mann Constr., 27 F.4th at 1143; see also Ex. K (confirming the update’s finality and explaining

that discrimination can presently “trigger liability” for regulated entities under the UDAAP authority).

Indeed, the manual is written with mandatory language to its examiners; it uses the word “must” more

than 2,000 times. Ex. A ¶10; see also CFPB, Supervision and Examination Manual (Sept. 2022),

https://perma.cc/JP4D-6AQS. It both restrains the discretion of agency decisionmakers and an-

nounces the CFPB’s view of specific substantive legal requirements that regulated entities have no

choice but to follow today. See McLouth Steel Prod. Corp., 838 F.2d at 1322; see also Prof’ls. & Patients for

Customized Care, 56 F.3d at 594-95 (analyzing whether a rule affects an agency decisionmaker’s discre-

tion to “initiate federal enforcement actions against entities and responsible persons”).

        To that end, the CFPB has proclaimed that its examiners “will look at how companies test and

monitor their decision-making process for unfair discrimination.” Ex. K at 3. CFPB’s incorrect legal

rule will compel agents to look at transactions for UDAAP and supposed discrimination. It hinders

business operations and supposes that regulated entities’ compliance systems will run new algorithms

to identify a unique species of information. This new policy has already led Plaintiffs’ members to

expand their existing UDAAP compliance systems, including their risk assessments, checklists, and



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other tools, to include nondiscrimination and by applying existing compliance systems that cover non-

discrimination to consumer financial products not covered by the ECOA or HMDA. Ex. A ¶¶16-19

(detailing costs to Chamber members from $10,000 to over $1 million annually per member); Ex. B

¶¶13-16; Ex. C ¶¶16-18; Ex. D ¶¶16-18; Ex. E ¶¶16-18; Ex. F ¶¶9-12; Ex. G ¶¶16-18. Examiners will

seek out this information to expand the scope of examinations and investigations under the updated

manual, thus draining unrecoverable business resources.

       That the CFPB was revising the previous manual does not excuse the CFPB from the APA’s

procedural requirements. See Clean Water Action v. EPA, 936 F.3d 308, 312 (5th Cir. 2019) (An agency

must “follow the same process to revise a rule as it used to promulgate it.” (citing Perez, 575 U.S. at

100)). Regardless of whether some sections of the manual previously went through notice-and-com-

ment, the update is not a mere clarification of existing rules. Rather, the update imposes new substan-

tive obligations on regulated entities without going through the required notice-and-comment proce-

dure under the APA.

       In fact, many outside the CFPB understand that any attempt to expand UDAAP authority

must go through the notice-and-comment process. Former CFPB senior adviser Michael Pierce wrote

an email to his “CFPB Colleagues” urging the agency to “issue notice-and-comment rules formalizing

the unfairness-discrimination application” which would afford it “the opportunity to articulate sub-

stantive standards and requirements for compliance, which may not be possible in less formal guid-

ance.” AR 05265 (Exhibit S); AR 05713 (same) (Exhibit T). Doing so would afford the CFPB “the

opportunity to articulate substantive standards and requirements for compliance, which may not be

possible in less formal guidance.” Id. Yet the CFPB declined.




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        The CFPB’s action, taken without legislative authority, imposes uncertain and excessive regu-

lation in the financial marketplace, along with the attendant financial burdens on Plaintiffs, their mem-

bers, and the public. Because the CFPB failed to go through the requisite notice-and-comment pro-

cess, the manual update violates the APA on this third, independent claim.


II.     Plaintiffs are entitled to vacatur and a permanent injunction.
        The parties agree that this case should be finally resolved at summary judgment, see Doc. 15,

so if the Court grants summary judgment to Plaintiffs, it should simultaneously craft a remedy. Under

the governing law, Plaintiffs are entitled to both vacatur and other equitable relief, including a decla-

ration and a permanent injunction.


        A.      This Court should set aside the manual update.
        For starters, this Court should vacate—i.e., “set aside”—the manual update. 5 U.S.C. §706(2).

As the Fifth Circuit held in Community Financial, vacatur is an appropriate remedy for the CFPB’s

violations of the Appropriations Clause. See 51 F.4th at 643. And as courts have held many times,

vacatur is also the appropriate remedy when an agency action violates the APA.

        When a rule is procedurally or substantively defective, the “ordinary result” is vacatur. Nat’l

Mining Ass’n v. U.S. Army Corps of Eng’rs, 145 F.3d 1399, 1409 (D.C. Cir. 1998); see Harmon v. Thornburgh,

878 F.2d 484, 495 n.21 (D.C. Cir. 1989) (“When a reviewing court determines that agency regulations

are unlawful, the ordinary result is that the rules are vacated—not that their application to the individ-

ual petitioners is proscribed.”). That rule is binding precedent in the Fifth Circuit. Basinkeeper v. U.S.

Army Corps of Eng’rs, 715 F. App’x 399, 402 n.3 (5th Cir. 2018); see also Chamber of Com. Of United States

of Am. v. U.S. Dep’t of Lab., 885 F.3d 360, 388 (5th Cir. 2018), judgment entered sub nom. Chamber of Com.

Of Am. v. U.S. Dep’t of Lab., 2018 WL 3301737 (5th Cir.) (vacating the Department of Labor’s Fiduciary




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Rule under the APA because the rule was “arbitrary, capricious” and “in excess of statutory … au-

thority” (citing 5 U.S.C. §706(2)(A), (C))).

        Indeed, the APA requires courts to “hold unlawful and set aside” agency actions that violate

its commands. 5 U.S.C. §706(2). To “set aside” means “to annul or vacate.” Set Aside, Black’s Law

Dictionary (11th ed. 2019); accord Set Aside, Black’s Law Dictionary (3d ed. 1933) (“cancel, annul, or re-

voke”); Set Aside, Black’s Law Dictionary (4th ed. 1951) (same). And vacatur “applies to the rule gen-

erally, not to just the plaintiffs in a suit.” Health Freedom Def. Fund, Inc. v. Biden, 2022 WL 1134138, at

*20 (M.D. Fla.) (citing Nat’l Mining Ass’n v., 145 F.3d at 1409); accord Kiakombua v. Wolf, 498 F. Supp.

3d 1, 52 (D.D.C. 2020) (“‘it is the long-held understanding that once a rule is vacated, it is vacated

for everyone’”). The only possible exception to vacatur—enjoinment as to these plaintiffs and their

members, but not others—is a contested exception that contradicts the governing practice in this

circuit. See Texas v. United States, 515 F. Supp. 3d 627, 638 n.6 (S.D. Tex. 2021) (reasoning “that a ge-

ographically restricted injunction issued to remedy likely unlawful agency actions meant to be ap-

plied universally would, among other things, invite arbitrary enforcement on the part of the federal

agency and create more questions than it answers” (cleaned up)).

        Because the CFPB’s manual update violates the APA in several respects, vacatur of that of-

fending rule is an important first step. See Texas v. Brooks-LaSure, 2021 WL 5154219, at *7 (E.D.

Tex.) (Barker, J.) (setting aside an agency action “in excess of statutory authority and as arbitrary and

capricious” (citing 5 U.S.C. §706(2)(A), (C)); Heartland Reg’l Med. Ctr. v. Sebelius, 566 F.3d 193, 199

(D.C. Cir. 2009) (“Failure to provide the required notice and to invite public comment . . . is a fun-

damental flaw that normally requires vacatur of the rule.”). Even if total vacatur were inappropriate

in certain circumstances, it would be appropriate here—a case where the plaintiffs represent a large,

nationwide swath of the entities who are being injured by the CFPB’s unlawful action. See, e.g., Ex. A




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¶4; Ex. C ¶¶7-8 (Plaintiff Consumer Bankers Association’s members comprise over one-third of the

total number of CFPB depository institutions); see also Ex. C-3 (list of applicable CBA members).


        B.      This Court should also enter declaratory and permanent injunctive
                relief.
        Beyond setting aside the manual update, this Court should declare that the CFPB has no

UDAAP authority over discrimination and enter a permanent injunction barring the CFPB from ex-

ercising that authority. Specifically, an injunction should bar the CFPB from pursuing any examina-

tions or enforcement actions based on the interpretation of its UDAAP authority announced in the

March 2022 update.

        Plaintiffs are entitled to that relief if they establish

             1. “success on the merits”;
             2. “that a failure to grant the injunction will result in irreparable injury”;
             3. “that said injury outweighs any damage that the injunction will cause the opposing
                party”; and
             4. “that the injunction will not disserve the public interest.”

O’Connor v. Smith, 427 F. App’x 359, 365 (5th Cir. 2011). The first factor is satisfied, as explained

above; because the CFPB lacks constitutionally appropriate funds or statutory authority to regulate

discrimination under its UDAAP authority, it should be enjoined from exercising that unlawful au-

thority. Because defendants are the government, moreover, the last two factors for injunctive relief

“merge.” Cf. Nken v. Holder, 556 U.S. 418, 435 (2009) (evaluating substantively identical elements in

request for stay of lower court ruling). Those factors, as well as the irreparable-harm factor, are satis-

fied here.


                1.       Without permanent injunctive relief, Plaintiffs will suffer irrepa-
                         rable harm.
        “To show irreparable injury if threatened action is not enjoined, it is not necessary to demon-

strate that harm is inevitable and irreparable.” Humana, Inc. v. Avram A. Jacobson, M.D., P.A., 804 F.2d



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1390, 1394 (5th Cir. 1986). Plaintiffs “need only show” harm that “‘cannot be undone through mon-

etary remedies.’” Texas v. United States, 524 F. Supp. 3d at 663. Plaintiffs easily clear that threshold,

both for their members and the public at large. See Hornbeck Offshore Servs., LLC v. Salazar, 696 F. Supp.

2d 627, 638-39 (E.D. La. 2010) (“[I]n making the determination of irreparable harm, ‘both harm to

the parties and to the public may be considered.’”); Long Island R. Co. v. Int’l Ass’n of Machinists, 874

F.2d 901, 910 (2d Cir. 1989) (“In making the determination of irreparable harm, both harm to the

parties and to the public may be considered.”).

        In its blog post accompanying the update, the CFPB acknowledged that the manual would

now impose new obligations on regulated entities. CFPB examiners “will require supervised compa-

nies to show their processes for assessing risks and discriminatory outcomes [i.e., “disparate impact”], includ-

ing documentation of customer demographics and the impact of products and fees on different de-

mographic groups.” Ex. K (emphasis added). And the CFPB “will look at how companies test and

monitor their decision-making processes for unfair discrimination, as well as discrimination under [the

ECOA].” Id. (emphasis added).

        The CFPB’s redefinition of the unfairness prong of UDAAP means that the CFPB will now

examine for and enforce its novel interpretation. As a matter of course, the CFPB shares violations it

finds in examinations with the Enforcement Division, which results in Enforcement opening investi-

gations and lawsuits. The CFPB’s update thus requires institutions to comply or risk legal action. And

its exercise of enforcement authority in this new area will affect all consumer financial-services com-

panies, including Plaintiffs’ members. In fact, CFPB has already said that it will use the updated manual

to do just that. See Ex. M (“Under the updated examination guidelines, we will continue to scrutinize




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any conduct of covered institutions that violates the federal prohibition against unfair practices, in-

cluding determining if an entity has unfairly discriminated against certain people.”).

        These seismic amendments to the manual harm Plaintiffs’ members by imposing heavy com-

pliance costs through the expansion of UDAAP compliance programs and systems. See, e.g., Ex. A

¶¶16-19; Ex. C ¶¶7-8. Plaintiffs’ members have no choice but to update their UDAAP compliance

policies and programs today, at significant cost, or run the risk of prolonged fights with the CFPB over

the adequacy of compliance procedures. Indeed, they must divert resources from other business op-

erations, limit innovation, and curtail the diversity of product offerings in the consumer financial-

services area.

        Plaintiffs’ members are already incurring steep costs to comply with CFPB’s unlawful manual

update. See, e.g., Ex. A ¶¶16-18. Directly, the costs on Chamber members from complying with the

CFPB’s new rule vary from $10,000 to more than $1 million annually per member. Id. ¶19. And these

are not “one off” costs; they are business expenses that will occur over and over. Id. These costs will

continue to accumulate as long as the updated manual remains in effect. Yet these costs do not even

account for the threat of costly enforcement actions against Plaintiffs’ members that will further com-

pound the harm. Id. ¶¶23-25.

        Compliance is all the more burdensome because the CFPB asserted its new anti-discrimination

authority without explaining key aspects of the updated regime. Regulated entities have no instruc-

tions, for example, on what might constitute unfair discrimination or an actionable disparate impact.

Id. ¶20. Unlike most anti-discrimination laws and regulations, the updated manual does not identify

protected classes or characteristics. Id. It also does not identify activities that cannot be discrimination,

another important feature of anti-discrimination laws. See id. For one example, the ECOA expressly

permits inquiry about an applicant’s age or sources of income “for the purpose of determining the

amount and probable continuance of income levels, credit history, or other pertinent element[s] of



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credit-worthiness as provided in regulations of the Bureau.” 15 U.S.C. §1691(b)(2). The CFPB in-

cluded no such guidance in its update.

        Nor does the agency explain how regulated entities are supposed to conduct the kind of de-

mographic assessments the update contemplates. Regulated entities are sometimes prohibited from

collecting customer demographic information. E.g. 12 C.F.R. §1002.5(b)-(d) (limits under the ECOA

on inquiry into an applicant’s race, color, religion, national origin, sex, marital status, and other char-

acteristics). The CFPB offers no explanation how regulated entities should comply with such regula-

tions while still implementing, per the updated manual, “policies and procedures to review, test, and

monitor any decision-making processes” for potential discrimination, including mere disparate impact.

Regulated entities, including Plaintiffs’ members, are bearing the burden of all this uncertainty while

trying to get into compliance with the agency’s update.

        In fact, the prospect of potential disparate-impact liability limits Plaintiffs’ members from of-

fering innovative consumer financial-services products. See, e.g., Ex. A ¶26. Under the novel standards

announced in the manual update, the CFPB has created a risk of UDAAP scrutiny for new product

offerings, particularly attempts to increase access to consumer financial products for underserved

communities. Id. The update thus forces Plaintiffs’ members to limit offerings in a way that hinders

business operations—not to mention the harm this causes to consumers.

        This harm incurred by Plaintiffs’ members cannot be remedied without a permanent injunc-

tion. Specifically, once Plaintiffs’ members build out the compliance infrastructure, those costs are lost

for good. Indeed, “complying with a regulation later held invalid almost always produces the irreparable

harm of nonrecoverable compliance costs.” Texas v. United States Env’t Prot. Agency, 829 F.3d 405, 433

(5th Cir. 2016) (quoting Thunder Basin Coal Co. v. Reich, 510 U.S. 200, 220-21 (1994) (Scalia, J., concur-




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ring in part and in the judgment)); Brooks-LaSure, 2021 WL 5154219, at *12 (Barker, J.) (finding irrep-

arable harm where “[d]amages are unavailable … because the Administrative Procedure Act does not

waive the federal government’s sovereign immunity from damages actions”).

        Thus, a plaintiff has established irreparable harm when a government action “impose[s] costs”

which the plaintiff “will be unable to recover . . . from the federal government.” Texas v. Biden, 20

F.4th 928, 1002 (5th Cir. 2021), as revised (Dec. 21, 2021), rev’d on other grounds, 142 S. Ct. 2528 (2022).

If the updated manual were set aside as unlawful, Plaintiffs and their members would have no claim

against the CFPB for the compliance costs they have already incurred. That means their harm “cannot

be undone through monetary remedies” and is therefore irreparable. Burgess v. FDIC, 871 F.3d 297,

304 (5th Cir. 2017); see also Texas v. United States, 524 F. Supp. 3d at 663 (finding a “financial injury”

was irreparable because “the Court [could not] conceive of any path for Texas to pierce the federal

government's usual sovereign immunity or contrive a remedial cause of action sufficient to recover

from its budgetary harm”).

        And Plaintiffs’ members will perpetually incur costs to remain in compliance. See, e.g., Ex. A

¶19. The longer that the threat of unlawful enforcement of the manual update looms, the more unre-

coverable resources Plaintiffs and their members end up devoting to new compliance programs. This

uncertainty in the marketplace and mounting compliance costs thus causes significant irreparable harm

to Plaintiffs and their members subject to the CFPB’s unlawful update.

        Plaintiffs also have members who are not supervised by the CFPB but are likewise irreparably

harmed by the CFPB’s unprecedented and incorrect rule. Id. ¶¶21-22. The CFPB is the agency charged

by Congress with enforcing the UDAAP provision of Dodd-Frank., 12 U.S.C. §5536(a)(1)(B), so any

entity subject to the Dodd-Frank provisions governing UDAAP is affected by the CFPB’s pronounce-

ments. Plaintiffs each have members not primarily regulated by the CFPB who provide consumer

financial products or are service providers for such products. These entities are subject to Dodd-



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Frank’s prohibitions on UDAAP. Compare 12 U.S.C. §5481(6) (defining a “covered person” for the

purpose of the exercise of UDAAP authority under Dodd-Frank as “(A) any person that engages in

offering or providing a consumer financial product or service; and (B) any affiliate of a person de-

scribed in subparagraph (A) if such affiliate acts as a service provider to such person”), with Ex. H at

1 n.2 (The CFPB claims “supervisory authority” over “(1) non-depository consumer financial service

companies and their service providers; (2) large insured depository institutions, large insured credit

unions, and their affiliates, as well as service providers to these entities; and (3) service providers to a

substantial number of small insured depository institutions or small insured credit unions.” (citing 12

U.S.C. §§5514-5517)). Each of these entities will face irreparable harm by being brought under the

ambit of CFPB’s unlawful action.


                2.      A permanent injunction would not harm Defendants or dis-
                        serve the public interest.
        Finally, the public interest and balance of harms strongly favor a permanent injunction. Simply

put, Defendants “have no legitimate interest in the implementation of an unlawful” regulation. Texas

v. United States, 524 F. Supp. 3d. at 663. Instead, “the public is served when the law is followed.” Id. at

665 (quoting Daniels Health Scis., L.L.C. v. Vascular Health Scis., L.L.C., 710 F.3d 579, 585 (5th Cir.

2013)); see also League of Women Voters of U.S. v. Newby, 838 F.3d 1, 12 (D.C. Cir. 2016) (“There is

generally no public interest in the perpetuation of unlawful agency action.”). And the public has a

strong interest in the proper function of the banking industry nationwide. “An invalid agency decision

to suspend [business] simply cannot justify the immeasurable effect on the plaintiffs, the local econ-

omy,” and “the critical present-day aspect” of the entire industry. Hornbeck, 696 F. Supp. 2d at 639. So

too here.




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                                         CONCLUSION
       For all these reasons, this Court should grant summary judgment in Plaintiff’s favor and enter

declaratory and permanent injunctive relief setting aside the CFPB’s March 2022 update to the manual

and forbidding the CFPB from pursuing any examinations or enforcement actions based on the in-

terpretation of its UDAAP authority announced in the March 2022 update.


 Dated: November 29, 2022                            Respectfully submitted,


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                                 CERTIFICATE OF SERVICE

       I hereby certify on this 29th day of November, 2022, a true and correct copy of this docu-

ment was served electronically by the Court’s CM/ECF system to all counsel of record.



                                     _/s/ Cameron T. Norris_____
                                     Cameron T. Norris




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